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 9
                                     UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11

12

13   DEREK L. MOBLEY for and on behalf                  )       Case No. 4:23-cv-00770-YGR
     of himself and other persons                       )
14   similarly situated,                                )       PLAINTIFF’S RESPONSE IN
                                                        )       OPPOSITION TO DEFENDANT’S
15
                    Plaintiff,                          )       MOTION TO DISMISS
16                                                      )
                                                        )       Date:            October 10, 2023
17   v.                                                 )       Time:            2:00 p.m.
                                                        )       Courtroom        1, 4th Floor
18   WORKDAY, INC.                                      )       Judge:           Hon. Yvonne Gonzalez
19                                                      )                        Rogers
                    Defendant.                          )
20                                                      )       Complaint Filed: February 21, 2023

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 1                    RESPONSE IN OPPOSITION TO MOTION TO DISMISS
 2
            Comes now, Plaintiff Derek Mobley (hereinafter “Plaintiff” or “Mobley”, by and
 3
     through undersigned counsel, and respectfully responds to the Defendant’s Motion to Dismiss
 4
     as follows:
 5

 6   I.     INTRODUCTION

 7          Technological advancement in the use and development of “Artificial Intelligence”

 8   (“AI”) and Machine Learning (“ML”) is fast outstripping human ability to comprehend and
 9
     regulate it. 1 Because of these advances and the fact that AI now permeates almost every aspect
10
     of business and commerce, the Consumer Financial Protection Bureau, the United States Justice
11
     Department’s Civil Rights Division, the Equal Employment Opportunity Commission and the
12
     Federal Trade Commission on April 25, 2023, issued a “Joint Statement on Enforcement Efforts
13

14   Against Discrimination and Bias in Automated Systems” pledging to engage in a renewed,

15   coordinated effort to enforce potential legal violations involving AI programs. 2 The joint
16   statement notes that the output of automated systems may be skewed by datasets that
17
     “incorporate historical bias,” “[are] unrepresentative or imbalanced,” or “contain other types of
18
     errors.” Id. It also cautions that unlawful discrimination may result when automated systems
19
     correlate data with protected classes. Id. Second, the statement describes certain automated
20

21   systems as “black boxes” and warns that this lack of transparency can make it difficult for

22   1
      Amazon recently came under fire because its engineers unwittingly created an algorithm that
23   rejected women applicants who used the term “women” in their application materials. The
     algorithm rejected potentially qualified women before they even reached the interview stage,
24   but other candidates who were not even qualified made it through the hiring process. The
     reason for this hiring bias was the fact that the AI had learned to replicate the biases of the data
25   used to create it. Lori Andrews & Hannah Bucher, Automating Discrimination: AI Hiring
26   Practices and Gender Inequality, 44:1 Cardozo Law Review, 145 (2022-2023).

27
     2
      https://www.eeoc.gov/joint-statement-enforcement-efforts-against-discrimination-and-bias-
     automated-systems.
28
                                                       1

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 1   people to know whether the system is fair. Id. Third, the statement recognizes that developers

 2   of automated systems often do not fully understand the contexts in which their systems are
 3
     being used, so the systems may be developed under flawed assumptions about users and their
 4
     practices. Important here is the joint statement’s proclamation that, “[e]xisting legal authorities
 5
     apply to the use of automated systems and innovative new technologies just as they apply to
 6
     other practices.” Id.
 7

 8      Against this backdrop, Mobley’s lawsuit challenges Workday, Inc.’s (hereinafter

 9   “Workday” or “Defendant”) discriminatory use of AI screening tools when evaluating and
10   selecting applicants for employment opportunities. Workday principally argues, inter alia, that
11
     it is not an employer or an employment agency and only markets and sells business software to
12
     clients who are then responsible for its subsequent use; thus, making the anti-discrimination
13
     statutes inapplicable to it. However, Plaintiff’s factual allegations and controlling authority do
14

15   not permit Workday to throw a rock and hide its hand. In short, Workday’s practices, as alleged

16   in Mobley’s complaint, meet the definition of an employment agency under existing federal

17   anti-discrimination laws.
18
            Further, even if it is held that Workday is not an employment agency, Ninth Circuit
19
     authority still holds it liable for discrimination under Title VII, because it interfered on
20
     invidious grounds with Mobley’s ability to form third-party employment relationships. Under
21
     what is called the indirect employer theory, a defendant [Workday] need not be the plaintiff’s
22

23   direct employer to be subject to Title VII’s reach so long as it exercised a degree of control over

24   access to employment opportunities with third parties. Here, Mobley’s Complaint amply shows

25   that Workday interfered with his attempts to obtain employment with third parties 80-100 times.
26
     By its own admission, Workday deploys its discriminatory job screening algorithms and
27

28
                                                       2

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 1   machine learning processes to determine the employment of tens of thousands of Americans. 3

 2   Thus, Workday is amenable to suit under either theory of liability.
 3
               Workday’s collateral attacks on Mobley’s complaint are equally unavailing.             First,
 4
     claiming that he never raised a disparate treatment theory in his charge of discrimination goes
 5
     against the time worn instruction that “employment discrimination charges are to be construed
 6
     with the utmost liberality.”” Paige v. State of Cal., 102 F.3d 1035, 1041-42 (9th Cir. 1996).
 7

 8   Mobley’s EEOC charge clearly states, “[u]pon information and belief, the Charging Party and

 9   other African-Americans have been discriminated against because of their race (African-
10   American), in violation of the Civil Rights Act of 1964, as amended.” This could apply equally
11
     to his disparate treatment or disparate impact claims. Second, Mobley was not required to plead
12
     a prima facie case of discrimination in his complaint. It has long been recognized that the
13
     McDonnell Douglas framework is an evidentiary standard and as long a plaintiff’s allegations in
14

15   the complaint give the defendant fair notice of what the plaintiff’s claim is and the grounds

16   upon which it rests a motion to dismiss is due to be denied. Third, Title VII specifically

17   authorizes disparate impact cases against employment agencies. See Fourth, Congress’s interest
18
     in rooting out discrimination of any kind requires that the anti-discrimination statutes be
19
     interpreted broadly to facilitate that aim.      Consequently, the Supreme Court has readily
20
     expanded the reach of anti-discrimination statutes to eliminate loopholes and capture all forms
21
     of invidious discrimination. Finally, Workday wants Mobley to answer what he cannot as an
22

23   applicant, which is what “screening tools” it uses to unlawfully discriminate. What he has done

24   is to allege that Workday’s process and practices have denied him 80-t100 employment
25   opportunities because of his race, age, and disability, and that he is not alone. Where there is
26

27
     3
         See, Ex. 1 at pgs.1&5.
28
                                                       3

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 1   this much smoke, applicable authority dictates that Mobley should be allowed to investigate its

 2   source.
 3
     II.       STATEMENT OF FACTS
 4
               A.     Mobley’s Qualifications
 5
           Mobley is an African-American male graduate of Morehouse College, an Historically Black
 6
     College or University. ECF#1 at p. 10, ⁋⁋19-20. He obtained a bachelor’s degree in finance
 7

 8   from Morehouse College, and an associate degree in network systems administration, from ITT

 9   Technical Institute.    Id.   He is over the age of forty (40) and suffers from anxiety and
10   depression. Id. Since 2018, Mobley has applied for at least 80-100 positions that use Workday,
11
     Inc. as a screening tool for talent acquisition and/or hiring. Id. He has been denied employment
12
     each time. Id.
13
               B.     Workday’s Business
14

15         Workday primarily sells to medium-sized and large, global organizations that span

16   numerous industry categories, including professional and business services, financial services,

17   healthcare, education, government, technology, media, retail, and hospitality. Ex. 1 at pgs. 1-7.
18
     Firms purchase a subscription for Workday’s services and as part of their subscription,
19
     customers are provided support services to include professional consulting to enable them to use
20
     Workday applications. Id. Workday acknowledges that the development of AI and ML poses
21
     present ethical issues in the area of human rights and employment that could expose it to legal
22

23   liability. Ex. 1 at pg. 24.

24             C.     Mobley’s Allegations

25         Mobley alleges that Workday’s AI and ML job screening tools discriminate on the bases of
26
     race, age, and disability with respect to selections. ECF#1 at p. 10, ⁋⁋21-29. He also alleges
27

28
                                                      4

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 1   that these policies and procedures have been continuously utilized by Workday since at least

 2   2018, and that their implementation and use has personally harmed Mobley and the putative
 3
     class members he seeks to represent. Id. Additionally, he alleges that the selection tools
 4
     marketed by Workday to its customers allows these customers to manipulate and configure
 5
     them in a discriminatory manner to recruit, hire, and onboard employees. Id. Workday’s
 6
     processes interpret an applicant’s qualifications and recommend whether the applicant should
 7

 8   be accepted or rejected. Id. Applicants who are not members of these protected groups and

 9   who are similarly situated to Mobley, have not been subjected to such discriminatory treatment.
10   ECF#1 at p. 4.
11
              D.      Workday’s Investor Representations
12
           In its 10k filings Workday states regarding its customers,
13
                      “Our business depends on our ability to satisfy our customers and end users, both
14                    with respect to our application offerings and the professional services that are
                      performed to help them use features and functions that address their business
15
                      needs. High customer satisfaction requires that our customers undergo a
16                    successful implementation and be properly trained on our applications to
                      effectively implement and increase their level of adoption of such applications.
17                    (emphasis added).

18                                                            ***
                          Implementation of our applications may be technically complicated because
19                    they are designed to enable complex and varied business processes across large
                      organizations, integrate data from a broad and complex range of workflows and
20                    systems, and may involve deployment in a variety of environments. Incorrect or
                      improper implementation or use of our applications could result in customer and
21
                      user dissatisfaction and harm our business and operating results. In order for our
22                    customers to successfully implement our applications, they need access to
                      highly skilled and trained service professionals. Professional services may be
23                    performed by our own staff, by a third party, or by a combination of the
                      two. (emphasis added). 4
24

25

26

27   4
         Ex. 1 Excerpt from Workday 10k January 31, 2022.
28
                                                        5

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 1             E.     Facts Related to Workday’s Applicant Recruitment and Selection

 2             Workday’s securities filing and web site materials tout the efficiency of their “AI” and
 3
     “ML” tools for applicant recruitment and selection decisions-functions traditionally performed
 4
     by employment agencies. 5 Workday’s approach to AI is unique. “Workday thinks about and
 5
     implements AI and ML differently than any other enterprise software company in the world.” 6
 6
     Based on a foundation of AI and ML, Workday provides:
 7

 8         Human Capital Management: Solutions for the Office of the CHRO

 9                    In the changing world of human resources (“HR”), Workday helps organizations
10                    identify and respond to rapidly changing conditions, whether they stem from
                      shifting talent needs or a renewed focus on belonging and diversity. Workday’s
11                    suite of HCM applications allows organizations to manage the entire employee
12                    lifecycle – from recruitment to retirement – enabling HR teams to hire,
                      onboard, pay, develop and reskill, and provide meaningful employee experiences
13                    that are personalized and helpful, based on listening to the diverse needs of
                      today’s workforce. For example, our skills technology, built on an AI and ML
14
                      foundation, helps organizations make the important shift to a skills-first
15                    approach, helping them prepare today for the jobs of tomorrow. (emphasis
                      added). 7
16

17          Workday charges are based on a subscription model that reflects an on-going relationship
18
     with their client employers, to wit it states “[a]dditionally, we offer extensive customer training
19
     opportunities and a professional services ecosystem of experienced Workday consultants and
20

21   5
       “A court may take judicial notice of “matters of public record” without converting a motion to
22   dismiss into a motion for summary judgment. MGIC Indem. Corp. v. Weisman, 803 F.2d 500,
     504 (9th Cir. 1986). But a court may not take judicial notice of a fact that is “subject to
23
     reasonable dispute.” Fed. R. Evid. 201(b) Rejoice! Coffee Co., LLC. v. Hartford Fin. Servs.
24   Grp., Inc., No. 20-CV-06789-EMC, 2021 WL 5879118, at *11 (N.D. Cal. Dec. 9, 2021)
25   6
         Ex. 2- https://blog.workday.com/en-us/2023/how-ai-and-ml-are-powering-future-work.html
     7 Ex. 3-Work Day 10k For Fiscal Year Ending January 31, 2023, pg. 2
26
     https://app.quotemedia.com/data/downloadFiling?webmasterId=101533&ref=117287473&type
27   =PDF&symbol=WDAY&companyName=Workday+Inc.&formType=10-K&dateFiled=2023-
     02-27&CK=1327811
28
                                                       6

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 1   system integrators to help customers not only achieve a timely adoption of Workday but

 2   continue to get value out of our applications over the life of their subscription.” 8 Workday’s AI
 3
     and ML recruits applicants and then refines the candidate pools:
 4
     “Referrals
 5
     Workday Recruiting enables the entire organization to participate in the talent acquisition
 6   process using referrals and recommendations. Through the referral leaderboard, you can
     encourage employees to generate more referrals by allocating points to the referral activity.
 7
     “Endorsements”
 8
     Refine candidates’ pools with endorsements. As candidates indentify[sic] contacts within your
 9   organization, Workday automatically seeks their endorsement.” 9
10
            Workday’s AI is deployed to recruit and hire younger workers. For example, in the
11
     federal sector:
12
     “Workday Government Cloud for the CHCO”
13   Federal agencies need solutions that can help them attract and develop the next
14   generation of talent. This video explores how Workday Government Cloud can help
     agencies find the right candidates, expedite onboarding, improve workforce
15   engagement, and more.” 10

16

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24   8
       Id. at pg. 5
     9
25     Ex. 4-Workday Recruiting- https://www.workday.com/content/dam/web/en-
     us/documents/datasheets/datasheet-workday-recruiting.pdf
26   10
        Ex. 5- https://forms.workday.com/en-us/other/workday-government-cloud-
27   overview/form.html?step=step1_default (emphasis added).

28
                                                     7

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14   The slide deck reflects that Workday can “Attract & retain workers” whereas the spoken

15   script acknowledges that Workday’s AI is used to “…attract and retain younger
16
     workers.” 11
17
               Ultimately Workday’s AI and ML makes the applicant recommendations:
18
               “With recruiting, engagement, and Workday Skills Cloud unified with
19             Workday Human Capital Management (HCM), we’ve got you
               covered every step of the way.
20
               Our skills intelligence foundation helps you build diverse teams by
21             expanding candidate pools with equitable, AI- and ML-driven job
               recommendations.” 12
22
     Using their “AI” and “ML” to make job recommendations (equitable or otherwise) or control
23
     access to jobs makes Workday an employment agency.
24

25

26
     11
27        Id video. At the time Mobley’s EEOC charge he was 47 years old. ECF. 17-1, pg. 6.
     12
          Ex. 6- https://www.workday.com/en-us/products/talent-management/talent-acquisition.html.
28
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 1   III.   LEGAL STANDARD

 2           This case is pending on a Motion to Dismiss, not the Defendant’s Motion for Summary
 3
     Judgment. These are not claims for fraud which are subject to Fed.R.Civ.P. 9’s heightened
 4
     pleading standard. Instead, “[t]o overcome a Rule 12(b)(6) motion to dismiss after the Supreme
 5
     Court's decisions in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic Corporation v.
 6
     Twombly, 550 U.S. 544 (2007), a plaintiff's “factual allegations [in the complaint] ‘must ...
 7

 8   suggest that the claim has at least a plausible chance of success.’ ” Levitt v. Yelp! Inc., 765 F.3d

 9   1123, 1135 (9th Cir. 2014). The court “accept[s] factual allegations in the complaint as true and
10   construe[s] the pleadings in the light most favorable to the nonmoving party.” Manzarek v. St.
11
     Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).” Rejoice! Coffee Co., LLC.
12
     v. Hartford Fin. Servs. Grp., Inc., No. 20-CV-06789-EMC, 2021 WL 5879118, at *3 (N.D. Cal.
13
     Dec. 9, 2021); See also Canatella v. Reverse Mortg. Sols. Inc., No. 13-CV-05937-YGR, 2014
14

15   WL 7205146, at *6 (N.D. Cal. Dec. 17, 2014) (cleaned up) (“Thus, “for a complaint to survive a

16   motion to dismiss, the non-conclusory ‘factual content,’ and reasonable inferences from that

17   content, must be plausibly suggestive of a claim entitling the plaintiff to relief.”)
18
            The Supreme Court’s decisions in Iqbal and Twombly did not alter the holding in
19
     Swierkiewicz that discrimination plaintiffs are not required to allege a prima facie case to state a
20
     valid claim. See Twombly, 550 U.S. at 569 n.14; see also Austin v. University of Oregon, 925
21
     F.3d at 1135, 1136-37 (9th Cir 2019) (applying Swierkiewicz to Title IX claims and rejecting the
22

23   argument that Iqbal abrogated Swierkiewicz); Sheppard v. David Evans & Assoc., 694 F.3d

24   1045, 1050 n.2 (9th Cir. 2012) (ADEA plaintiff is “not required to plead a prima facie case of

25   discrimination” (emphasis in original) (citing Swierkiewicz, 534 U.S. at 508-11)).
26

27

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 1             Nevertheless, Workday’s grounds for dismissal include the failure to recite the prima

 2   facie case elements. Defendant Workday, Inc.’s Motion to Dismiss and Memorandum of Point
 3
     and Authorities in Support pgs. 13-14. Workday’s Motion To Dismiss is populated with and
 4
     relies on cases that weighed evidence whether at summary judgement, class certification,
 5
     preliminary injunction (Brush v. San Francisco, 315 F. Supp. 577 (N.D. Cal. 1970) aff’d d. 469
 6
     F.2d 89 (9th Cir. 1972) or even trial. See DeJaynes v. Powell, 2022 WL 2657194, at *1
 7

 8   (N.D.Ill., 2022)(“One of the several standing orders on this Court's website admonishes

 9   attorneys that summary judgment cases are not particularly helpful on a motion to dismiss.”). 13
10   IV.       ARGUMENT
11
               Workday’s introductory statement that the Plaintiff complaint is devoid of any plausible
12
     allegations that it is an employment agency is just plain wrong. Plaintiff’s complaint does what
13
     it is supposed to do under Rule 8, which is to put the Defendant on notice of what the Plaintiff is
14

15   claiming. Further, the Supreme Court has squarely rejected a heightened pleading standard for

16   discrimination cases at the motion to dismiss stage. Swierkiewicz v. Sorema N.A., 534 U.S. 506,

17   510 (2002); Debro v. Contra Costa Community College District, et al., 2021 WL 5585592, *3
18
     (N.D. Cal. 2021). Mobley’s complaint outlines how Workday’s processes and practices denied
19
     him 80-100 employment opportunities because of his race, age, and disability. He also alleges
20
     that individuals outside of his protected status are not treated in this fashion. Under Swierkiwicz
21
     and its progeny these allegations are sufficient.
22

23             Regarding Mobley’s allegations challenging Workday’s employment practices,

24   Congress states, “It shall be an unlawful employment practice for an employment agency to fail
25   or refuse to refer for employment, or otherwise to discriminate against, any individual because
26

27
     13
          See Ex. 7-Table of Non-Motion to Dismiss Cases.
28
                                                         10

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 1   of his race, color, religion, sex, or national origin, or to classify or refer for employment any

 2   individual on the basis of his race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-
 3
     2(b). The Supreme Court and courts in the Ninth Circuit have made clear that because of the
 4
     nation’s overriding policy to stamp out discrimination, anti-discrimination statutes are to be
 5
     construed broadly to facilitate the eradication of discrimination on any basis. Smith v. City of
 6
     Jackson, 544 U.S. 228, 240, 125 S.Ct. 1536, 161 L.Ed.2d 410 (2005) (interpreting the ADEA to
 7

 8   permit disparate impact claims in addition to disparate treatment claims); Tcherepnin v. Knight,

 9   389 U.S. 332, 336, 88 S.Ct. 548, 19 L.Ed.2d 564 (1967)(when a statute is remedial in nature, its
10   text is to be construed “broadly to effectuate its purposes.”); Moyo v. Gomez, 40 F.3d 982 (9th
11
     Cir. 1994) (“it has been long established that Title VII, as remedial legislation, is construed
12
     broadly.”); Brothers v. First Leasing, 724 F.2d 789, 794 (9th Cir. 1984) (“[t]o conclude that
13
     discrimination in consumer leasing transactions is exempt from the ECOA simply because
14

15   Congress did not add express language covering consumer leases when it amended the [Equal

16   Credit Opportunity Act] for entirely unrelated reasons would be inconsistent with the broad

17   purpose of the statute and the liberal construction we must give it.”); Cohen v. City of Culver
18   City, 754 F.3d 690, 695 (9th Cir. 2014) (courts must construe the language of the ADA broadly
19
     to effectively implement its remedial purpose); Rabin v. PricewaterhouseCoopers LLP, 236
20
     F.Supp.3d 1126, 1128 (N.D. Cal. 2017) (the disparate impact theory is available to job
21
     applicants alleging violations of the ADEA). Thus, to accomplish this goal remedial statutes
22

23   like Title VII, the ADEA, and the ADA, that are designed to eliminate discrimination and

24   protect applicants and employees, must be interpreted in a manner that would close any

25   loopholes crafty defendants would use to escape liability for their unlawful acts. Therefore, the
26

27

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                                                     11

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 1   catch-all phrase “otherwise to discriminate” operates to address Workday’s alleged unlawful

 2   practices and processes here.
 3
     V.       WORKDAY IS AN ENTITY SUBJECT TO LIABILITY UNDER TITLE VII,
 4            THE ADEA, AND THE ADA.

 5            A.     Workday is an employment agency under Title VII, the ADEA, and the
                     ADA.
 6
              Workday’s MTD’s quotes the statutory definition of an employment agency:
 7

 8                   “Employment agency” is defined in both Title VII and the ADA as:
                     Any person regularly undertaking with or without compensation to
 9                   procure employees for an employer or to procure for employees
                     opportunities to work for an employer and includes an agent of such
10                   a person. 42 U.S.C. § 2000e(c); 42 U.S.C. § 12111(7) (“The term[] . . .
11                   ‘employment agency’ . . . shall have the same meaning given such
                     terms in section 2000e of this title.”). 14
12
              According to Workday, “Our skills intelligence foundation helps you build diverse
13
     teams by expanding candidate pools with equitable, AI- and ML-driven job recommendations.”
14

15   That concession puts Workday comfortably within statutory definition of an employment

16   agency, especially when their customers are paying regular subscription fees for AI recruitment

17   and recommendations. Title VII (and the other anti-discrimination statutes) do not provide tech
18
     immunity for employee recruitment and selection accomplished through Workday’s proprietary
19
     AI and ML.
20
              Workday acknowledges that their AI refines candidate pools as, “As candidates
21
     indentify[sic] contacts within your organization, Workday automatically seeks their
22

23   endorsement.” 15 To the extent an organization’s past hiring practices have been discriminatory

24   sifting out resumes and seeking out recommendations from the current workforce is a marker

25   for discriminatory employment practice. See Domingo v. New England Fish Co., 727 F.2d
26
     14
27        ECF# 17, pg. 14.
     15
          Ex. 4-Workday Recruiting.
28
                                                      12

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 1   1429, 1433 (9th Cir.), modified, 742 F.2d 520 (9th Cir. 1984) “In addition, Nefco gave

 2   preference in hiring to relatives of company employees and business associates. This pervasive
 3
     nepotism policy did help both whites and nonwhites obtain employment, but whites controlled
 4
     the best jobs, and in those jobs the nepotism favored whites.” Scholars recognize that AI is not
 5
     ready to be deployed for employee recruitment. See Ethical and social risks of harm from
 6
     Language Models, Weideinger et al,         https://arxiv.org/abs/2112.04359 pg. 12 discussing
 7

 8   training data required to reduce bias may not yet exist “…For example, a language technology

 9   that analyses CVs for recruitment, or to give career advice, may be less likely to recommend
10   historically discriminated groups to recruiters, or more likely to recommend lower paying
11
     careers to marginalized groups.”
12
              Crossing the employment agency threshold and more, “Workday was an early adopter of
13
     large language models (LLMs) the technology that has enabled Generative AI and we use them
14

15   in production today. We have started adopting Generative AI, and we use them in production

16   today. We have started adopting Generative AI at Workday to solve a host of additional

17   customer challenges. A canonical case for LLMs is content creation, and we can how drafting
18   performance reviews, job descriptions, and host of other documents will be transformed by this
19
     approach.” 16
20
              As Judge Thompson from the Middle District of Alabama observed in Wilborn v. S.
21
     Union State Cmty. Coll., 720 F. Supp. 2d 1274, 1291 (M.D. Ala. 2010) “Almost thirty-five
22

23   years ago, the Seventh Circuit Court of Appeals observed that, “Litigation concerning the

24   meaning of the term employment agency is rather sparse.”              Cannon v. University of

25   Chicago, 559 F.2d 1063, 1075–76 (7th Cir.1976). And the term has rarely been the subject of
26

27   16
          Ex. 2-How AI and ML Are Powering the Future of Work.
28
                                                     13

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 1   meaningful dispute in the intervening years. See Scaglione v. Chappaqua Cent. Sch. Dist., 209

 2   F.Supp.2d 311, 316 (S.D.N.Y.2002) (McMahon, J.) (“There are very few cases invoking 42
 3
     U.S.C. § 2000e–2(b) ... and the few that do almost invariably involve an entity that is
 4
     indisputably an ‘employment agency.’ ”).”
 5
            B.      Workday Is Not Selling Classified Ads
 6
            Workday relies on Brush v. San Francisco Newspaper Printing Co., 315 F. Supp. 577,
 7

 8   578 (N.D. Cal. 1970), aff’d, 469 F.2d 89 (9th Cir. 1972) in support of their argument that

 9   Workday is not an employment agency. 17 In Brush, the newspaper publisher accepted gender
10   based classified job advertisements printed in the San Francisco Chronicle, the daily San
11
     Francisco Examiner, and the Sunday Chronicle-Examiner.           However, the publisher had no
12
     control over employee selection and did not make any applicant recommendations. 18 Here,
13
     Workday’s AI/ML recruits applicants and makes employment recommendations. The cases are
14

15   not comparable.

16          Defendant interprets subsequent decisions since Brush as requiring a defendant “actively

17   assist” in procuring employment opportunities or employees to be an employment agency.
18   Workday actively controls the employment selection process. As described in their promotional
19
     video, when necessary, Workday’s AI and ML focuses on recruiting and hiring younger
20
     employees. 19 At the time of Mobley’s EEOC charge he was 47 years old and not within the age
21
     range for training data designed for that opportunity.
22

23

24

25   17
        Workday MTD, ECF#17, pg.15.
     18
        Brush was decided on an application for a preliminary injunction which resulted in a change
26
     that the newspaper would make a gender-neutral column available for employment ads.
     19
27      Ex. 5- https://forms.workday.com/en-us/other/workday-government-cloud-
     overview/form.html?step=step1_default video at approximately 29 seconds.
28
                                                     14

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 1          C.      Workday’s power to control access to employment opportunities means that
                    it is a covered entity under Title VII, the ADEA, and the ADA.
 2
            Even if this court were to hold that Workday is not an employment agency, which it
 3

 4   should not, under an additional line of authority, “Title VII prohibits a defendant's interference

 5   with an individual’s employment opportunities with another employer. . .’ Thus, a Title VII
 6   defendant need not be the plaintiff’s employer to interfere impermissibly with plaintiff’s
 7
     employment opportunities.’” Radentz v. Am. Ass’n of Physician Specialists, Inc., No., 2014 WL
 8
     12601014, at *4 (C.D.Cal. Nov. 10, 2014) (quoting Scaglione v. Chappaqua Cent. School Dist.,
 9
     209 F. Supp. 2d 311, 316 (S.D.N.Y. 2002) (describing the rule adopted by Sibley Mem’l Hosp.
10

11   v. Wilson, 488 F.2d 1338, 1342 (D.C. Cir. 1973), and Kemether v. Pa. Interscholastic Athletic

12   Ass’n, 15 F. Supp. 2d 740, 762 (E.D. Pa. 1998))). The Ninth Circuit has wholeheartedly

13   adopted the Sibley rule of indirect-employer liability. See, Anderson v. Pacific Maritime Ass'n,
14   336 F.3d 924 (9th Cir. 2003); Ass'n of Mex.–Am. Educators v. State of California, 231 F.3d 572,
15
     581 (9th Cir.2000) (en banc) (quoting Sibley Mem'l Hosp. v. Wilson, 488 F.2d 1338, 1341
16
     (D.C.Cir.1973)).
17
            In Sibley Memorial Hospital v. Wilson, the D.C. Circuit Court found a hospital liable for
18

19   discrimination under Title VII for failing to refer a nurse for an employment opportunity with a

20   patient. Sibley Mem’l Hosp. v. Wilson, 488 F.2d 1338, 1342 (D.C. Cir. 1973). The plaintiff was

21   not an employee of the hospital but worked for an employment registry service which sent him
22
     to assist patients at the hospital. Id. at 1339-42. The plaintiff alleged that because of his sex,
23
     the hospital only assigned him male patients while female nurses could care for both male and
24
     female patients. Id. The plaintiff sued the hospital under Title VII, and the hospital argued that
25
     because no employer-employee relationship existed, no liability existed under Title VII. Id.
26

27   The district court for the District of Columbia entered summary judgment for the plaintiff

28
                                                     15

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 1   finding that the hospital violated Title VII. The D.C. Circuit reversed and remanded the case

 2   but in doing so held that Title VII enforcement does not explicitly depend upon the existence of
 3
     a direct employer-employee relationship. Id. at 1342-43. The circuit court stated that the
 4
     hospital exposed itself to Title VII liability because of the degree of control it exerted over the
 5
     access to the employment opportunities. Id. The court also noted that indirect employer
 6
     liability under Title VII can occur when labor unions or employment agencies interfere with the
 7

 8   direct employment relationship. Id. In a string of cases beginning with Lutcher v. Musicians

 9   Union Local 47, 633 F.2d 880, 883 (9th Cir. 1980), the Ninth Circuit agreed with Sibley and
10   subsequently expanded its reach.
11
            In Lutcher v. Musicians Union Local 47, the Ninth Circuit applied Sibley’s rationale and
12
     held that Title VII applies even when no direct employment relationship exists. Joe Lutcher, a
13
     professional musician, and a member of the Musicians Union Local 47, converted to the
14

15   Seventh Day Adventist Church. Because his religion forbade it, Lutcher refused to pay dues to

16   the Union. Lutcher eventually came to serve as a business and personnel manager of the Watts

17   Community Symphony Orchestra, who used Union musicians. The Union’s president wrote the
18
     conductor of the Symphony asking that Lutcher not perform with Union musicians. His refusal
19
     to pay union dues barred him from performing with Union musicians which limited his
20
     opportunities to perform with the Symphony. He sued the union under Title VII for religious
21
     discrimination.
22

23          The district court for the Central District of California granted summary judgment in

24   favor of the Union. The Ninth Circuit reversed, holding that the Union had violated Title VII
25   by forcing Lutcher to pay dues when it conflicted with his religion. The Union’s actions limited
26
     Lutcher’s employment opportunities because he could not perform jobs that involved Union
27

28
                                                     16

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 1   musicians.      The court found that the Union’s interference with the direct employment

 2   relationship between the Symphony and Lutcher made it liable under Title VII.
 3
            Next, the Ninth Circuit applied Sibley in Gomez v. Alexian Brothers Hospital, 698 F.2d
 4
     1019, 1021 (9th Cir. 1983).      Gomez practiced medicine as an employee of the American
 5
     Emergency Services Professional Corporation Medical Group (“AES”). Gomez submitted a
 6
     contract proposal to the defendant hospital on behalf of AES. The proposal involved operation
 7

 8   of the hospital’s emergency room, with Gomez serving as the director. The hospital rejected the

 9   proposal. Gomez brought a Title VII claim against the hospital because he believed that the
10   hospital had denied AES’s proposal for discriminatory reasons. The district court for the
11
     Northern District of California granted summary judgment to the hospital.
12
            The court held that Title VII did not apply because AES was an independent contractor
13
     and Gomez was an employee of AES, rather than the hospital. The Ninth Circuit reversed,
14

15   holding that the hospital was an indirect employer of Gomez because of its ability to interfere

16   with the terms and conditions of Gomez’s employment. Further, the court found, “[t]he fact that

17   plaintiff continues as an employee of AES does not mean the employment relationship between
18
     AES and plaintiff has not been interfered with. The conditions of plaintiff's employment are
19
     different than they would have been had he not been discriminated against. . .” Gomez, 698
20
     F.2d at 1021.
21
            Similarly, in Ass`n of Mexican-Am. Educators v. California, 231 F.3d 572, 580-82(9th
22

23   Cir. 2000) (“AMAE”), the Ninth Circuit found the state of California liable under Title VII

24   because, even though it was not the plaintiffs’ direct employer, it had influenced the

25   employment policies and practices of local school districts. Important here is the fact that
26
     AMAE was a class action. The AMAE plaintiffs challenged California’s use of a skills test as a
27

28
                                                      17

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 1   prerequisite to employment in the State’s public schools. The plaintiffs brought Title VII

 2   claims because the test allegedly had a disparate impact on minorities.
 3
            Relying on Sibley, Lutcher, and Gomez, the AMAE court found the state of California
 4
     liable because it had interfered with the plaintiffs’ relationship with future employers because
 5
     its test dictated whom the employers could hire.          Further, the court stated that because
 6
     California had participated in and influenced the employment practices and policies of the local
 7

 8   school districts it was covered by Title VII. The court’s conclusion rested on the degree of

 9   control the state exerted over who would be referred to the local districts.
10          Each of these decisions takes an expansive view of the indirect employer theory, as
11
     created by Sibley. See Velez v. Roche, 335 F.Supp.2d 1022 (N.D. Ca. 2004) (extending indirect
12
     employer theory of liability to a hostile environment claim where the VA was the direct
13
     employer, and the Air Force was the indirect employer). Moreover, the common thread that
14

15   runs through all of them is that an entity is liable under Title VII where (1) the entity-controlled

16   access to the employment opportunity with the direct employer, and (2) it interfered with the

17   direct employment relationship between the employee and the direct employer.
18
            Here, Mobley clearly alleges that Workday exerts singular control over who advances to
19
     employment relationships with third-party employers.
20

21

22

23

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                                                      18

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 1   VI.      PLAINTIFF’S   INTENTIONAL                   DISCRIMINATION             CLAIMS       ARE
              SUFFICIENTLY PLED.
 2
              Workday’s claim that Mobley failed to exhaust his administrative remedies under Title
 3

 4   VII and the ADEA is deeply flawed because it ignores the 9th Circuit instruction that

 5   “employment discrimination charges are to be construed with the utmost liberality.”” Paige v.
 6   State of Cal., 102 F.3d 1035, 1041-42 (9th Cir. 1996); Gamble v. Kaiser Foundation Health
 7
     Plan, Inc., 348 F.Supp.3d 1003, 1018 (N.D. Ca. 2018) (plaintiffs need not state specifically that
 8
     the claim is brought on behalf of a class in their administrative charge). Paragraph 7 of
 9
     Mobley’s charge alleges he was discriminated against because of his race, African-American,
10

11   this means disparate treatment. See International Broth. of Teamsters v. U.S., 431 U.S. 324,

12   334-35, fn. 14 (1977) (claims of disparate treatment involve employer’s alleged treatment of

13   some people less favorably than others because of their race). The ADEA allegations in his
14   charge are similarly positioned because they fall “within the scope of the administrative
15
     investigation which can reasonably be expected to grow out of the charge of discrimination.”
16
     Gamble, at 1014. (quoting Rodriguez v. Airborne Express, 265 F.3d 890, 896–97 (9th Cir.
17
     2001).
18

19            As stated above, under Swierkiewicz Mobley’s allegations of intentional discrimination

20   put the Defendant on notice as to what he is claiming and how he was injured. Nothing more is

21   required under Rule 8.
22
     VII.     PLAINTIFF’S DISPARATE IMPACT CLAIMS ARE PROPERLY BEFORE
23            THIS COURT AND SHOULD NOT BE DISMISSED AT THIS STAGE.

24            A.     Disparate impact claims are applicable to employment agencies.

25            When interpreting a statute, the court must “look to its plain language construing the
26
     provisions of the entire law, including its object and policy, to ascertain the intent of Congress.
27

28
                                                     19

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 1   Then, if the language of the statute is unclear, . . . look to its legislative history. Northwest

 2   Forest Resource Council v. Glickman, 82 F.3d 825, 830-31 (9th Cir. 1996). There’s no need to
 3
     examine the legislative history of Title VII to determine whether the disparate impact theory
 4
     applies to employment agencies, because it is plainly stated in the text. Workday does not even
 5
     address the statute’s disparate impact provisions and instead presents a confusing argument
 6
     regarding the effect and motivation of disparate impact claims. See, ECF#17 at pgs. 17-18.
 7

 8   Workday’s legal contortions cannot absolve it from liability. The statute clearly dictates that

 9   employment agencies fall within its ambit, without any limiting language.           This is not a
10   question of first impression.
11
            42 U.S.C. § 2000e-2(k)(1)(A) (Title VII) that “An unlawful employment practice based
12
     on disparate impact is established under this subchapter only if-(i) a complaining party
13
     demonstrates that a respondent uses a particular employment practice that causes a disparate
14

15   impact on the basis of race, color, religion, sex, or national origin and the respondent fails to

16   demonstrate that the challenged practice is job related for the position in question and consistent

17   with business necessity. . . “ Title VII defines a respondent as: “(n) The term “respondent”
18
     means an employer, employment agency, labor organization, joint labor-management
19
     committee controlling apprenticeship or other training or retraining program, including an on-
20
     the-job training program, or Federal entity subject to section 2000e–16 of this title.” 42 U.S.C.
21
     § 2000e(n). Moreover, regarding whether employment agencies and employment services are
22

23   subject to disparate impact claims, 29 C.F.R. § 1607.10, in relevant part states,

24                  “A. Where selection procedures are devised by agency. An employment
                    agency, including private employment agencies . . . which agrees to a request
25                  by an employer or labor organization to device and utilize a selection
                    procedure should follow the standards in these guidelines for determining
26
                    adverse impact. If adverse impact exists, the agency should comply with
27                  these guidelines..”

28
                                                      20

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 1   Fed. Exp. Corp. v. Holowecki, 552 U.S. 389, 395, 128 S. Ct. 1147, 1154, 170 L. Ed. 2d 10

 2   (2008) (“[t]he agency has statutory authority to issue regulations, see § 628; . . . .”) (citation
 3
     omitted); Brock v. Cathedral Bluffs Shale Oil Co., 796 F.2d 533, 539 (D.C. Cir.1986)
 4
     (publication in the Code of Federal Regulations indicates a substantive rule enforceable by third
 5
     parties in federal court). Further, both the EEOC and DOJ have issued guidance indicating that
 6
     employment agencies can be held liable for disparate impact. Section 631.4(b) of the EEOC
 7

 8   Compliance Manual provides that an employment agency, like an employer, may be held liable

 9   for disparate impact. 20 The manual states “[t]he adverse impact theory is also applicable to
10   evaluate policies and practices of employment agencies.” EEOC Compl. Man., Vol. II, §
11
     631.4(b); See also Policy Guidance: What constitutes an employment agency under Title VII,
12
     how should charges against employment agencies be investigated, and what remedies can be
13
     obtained for employment agency violations of the Act? (1991). 21 The EEOC, DOJ, DOL and
14

15   the Civil Service Commission have jointly adopted the Uniform Guidelines on Employee

16   Selection Procedures (“Guidelines”) to help “employers, labor organizations, employment

17   agencies, and licensing and certification boards” comply with federal employment law. 29
18   C.F.R. § 1607.1(A) & (B) (2023). The Guidelines assume that employment agencies can be
19
     held liable for disparate impact. Again, § 1607.10 specifically provides that “any employment
20
     agency . . . should follow the standards in these guidelines for determining adverse impact.” 29
21
     C.F.R. § 1607.10. Accordingly, employment agencies (like Workday) are expected to comply
22

23   with the Guidelines to eliminate any disparate impact.

24

25   20
        E.E.O.C. v. Wal-Mart Stores, Inc., 156 F.3d 989, fn. 1 (9th Cir. 1998) (“The EEOC Guidelines
     “constitute ‘[t]he administrative interpretation of [Title VII] by the enforcing agency,’ and
26
     consequently they are entitled to great deference.’”)(citations omitted).
27
     21
        https://www.eeoc.gov/laws/guidance/policy-guidance-what-constitutes-employment-agency-
     under-title-vii-how-should-charges#_ftn8.
28
                                                     21

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 1          In EEOC Decision No. 71-762 (1973), the Commission considered whether the use of

 2   an unsubstantiated pre-referral test which disproportionately excluded Black applicants violated
 3
     Title VII. The respondent, an employment agency, relied upon an applicant’s performance in a
 4
     pre-referral test to determine whether to refer the applicant to a particular position. However,
 5
     because white applicants significantly outperformed Black applicants in all but two test
 6
     categories, white applicants were more likely to be referred to the most appealing jobs. The
 7

 8   Commission held that the employment agency’s practice violated Title VII and found the

 9   agency liable under a disparate impact theory.
10          In Eldredge v. Carpenters 46, 833 F.2d 1334 (9th Cir. 1987) the Ninth Circuit considered
11
     whether an apprenticeship program which disproportionately excluded women violated Title
12
     VII. The apprenticeship program required applicants to, among other things, obtain employment
13
     with a union contractor. Applicants could satisfy this requirement by finding an employer who
14

15   would hire them and request the applicant by name. This so called “hunting license” system

16   resulted in a substantial and statistically significant disparity between male and women

17   applicants. The plaintiff class alleged that the defendant apprenticeship committee violated Title
18   VII by utilizing a facially neutral standard that had a disparate impact. The court held that
19
     although the apprenticeship committee was not “in the same position as an employment
20
     agency,” the committee violated Title VII by utilizing procedures that had a disparate impact.
21
     Id. at 1337 (emphasis added); See also, Ass`n of Mexican-Am. Educators v. California, 231 F.3d
22

23   572, 581-82 (9th Cir. 2000) (state of California held liable where its test dictated who the

24   employers could hire). The inescapable conclusion here is that the disparate impact theory of

25   liability applies to employment agencies. Therefore, applicants, such as Mobley, can maintain a
26
     disparate impact claim against Workday.          Rabin v. PricewaterhouseCoopers LLP, 236
27

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                                                      22

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 1   F.Supp.3d 1126 (N.D. Ca. 2017) (disparate impact theory of liability applies to job applicants

 2   under Title VII and the ADEA); Raytheon Co. v. Hernandez, 540 U.S. 44, 53 (2003) (ADA
 3
     recognizes disparate impact discrimination “defining “discriminate” to include. . . “using
 4
     qualification standards, employment tests or other selection criteria that screen out or tend to
 5
     screen out an individual with a disability”). 22
 6
             B.     A Motion to Dismiss is Not the Proper Way to Dispose of Plaintiff’s
 7
                    Disparate Impact Class Allegations.
 8
            Here, to avoid class discovery, Workday suggest that this court adopt a pleading
 9
     standard that would require detailed proof of Mobley’s disparate impact claims, and not just the
10

11   factual allegations, which is a standard no Plaintiff could ever hope to meet without some

12   discovery. Federal courts in California, including the Northern District, have not adopted the

13   pleading standard asserted by the Defendants. Indeed, numerous California District Courts have
14   held that, “the granting of motions to dismiss class allegations before discovery has commenced
15
     is rare.” In re Wal-Mart Stores, Inc. Wage and Hour Litigation, 505 F.Supp.2d 609, 615 (2007)
16
     (“[D]ismissal of class allegations at the pleading stage should be done rarely and that the better
17
     course is to deny such a motion because ‘the shape and form of a class action evolves only
18

19   through the process of discovery.’ ”); Astiana v. Ben & Jerry's Homemade, Inc., No. C 10-4387

20   PJH, 2011 WL 2111796, at *14–15 (N.D. Cal. May 26, 2011); Garibaldi v. Bank of America

21   Corp., 2014 WL 172284, *8 (N.D.Cal. 2014); Sliger v. Prospect Mortg., LLC, 789 F.Supp.2d
22
     1212, 1217-1219 (E.D. Cal. 2011); Bass v. Dollar Tree Stores, Inc., 2007 WL 2462150 *3
23
     (N.D. Cal. 2007)(“Defendant's arguments regarding the propriety of the class allegations are
24
     premature. Accordingly, the Court denies Defendant's motion to strike or dismiss the class
25

26

27
     22
       https://www.eeoc.gov/laws/guidance/americans-disabilities-act-and-use-software-algorithms-
     and-artificial-intelligence.
28
                                                        23

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 1   allegations at this procedural stage”); Moreno v. Baca, 2000 WL 33356835, *2 (C.D. Cal. 2000)

 2   (holding that defendants' motion to strike class allegations was premature because no motion for
 3
     class certification had been filed); In re NVIDIA GPU Litig., 2009 WL 4020104, *13 (N.D. Cal.
 4
     2009) (“A determination of the ascertainability and manageability of the putative class in light
 5
     of the class allegations is best addressed at the class certification stage of the litigation”); Shein
 6
     v. Canon U.S.A., Inc., 2009 WL 3109721, *10 (C.D. Cal. 2009) (“The Court finds that these
 7

 8   matters are more properly decided on a motion for class certification, after the parties have had

 9   an opportunity to conduct class discovery and develop a record”); In re Jamster Mktg. Litig.,
10   2009 WL 1456632, *7 (S.D. Cal. 2009) (“Even though the arguments of [the defendant] may
11
     ultimately prove persuasive, the court declines to address issues of class certification at the
12
     present time. Piece-meal resolution of issues related to the prerequisites for maintaining a class
13
     action do not serve the best interests of the court or parties”); Beauperthuy v. 24 Hour Fitness
14

15   USA, Inc., 2006 WL 3422198, *3 (N.D. Cal. 2006) (finding that a motion to strike class

16   allegations from a complaint “is an improper attempt to argue against class certification before

17   the motion for class certification has been made and while discovery regarding class
18
     certification is not yet complete”); Cole v. Asurion Corp., 2008 WL 5423859, *14 (C.D. Cal.
19
     Dec. 30, 2008) (“Undoubtedly, addressing these arguments at a later date will require additional
20
     time and expense on the part of the defendants. But the Court is reluctant to preemptively deny
21
     Plaintiff at least the opportunity to present a motion for class certification”); see also, 7AA
22

23   Charles Alan Wright, Arthur R. Miller & Mary K. Kane, FEDERAL PRACTICE AND

24   PROCEDURE CIVIL § 1785.3 (3d 2005) (noting that the practice employed in the

25   overwhelming majority of class actions is to resolve class certification only after an appropriate
26
     period of discovery).
27

28
                                                       24

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 1          Thus, this Court should not grant Workday’s motion based on arguments that would

 2   limit or defeat class certification under Rule 23, because any such analysis is more properly
 3
     done on a motion for class certification. Gilbert v. City of Richmond, 417 F.2d 426, 432 (9th
 4
     Cir. 1969)(“compliance with Rule 23 is not to be tested by a motion to dismiss for failure to
 5
     state a claim.”); Sliger v. Prospect Mortg., LLC, 789 F.Supp.2d 1212, 1217-1219 (E.D. Cal.
 6
     2011)(denying 12(b)(6) motion to dismiss putative class members’ claims based on complaint’s
 7

 8   “overly broad” definition of the class because “the procedure urged by the defendant threatens a

 9   determination on the merits” that was inappropriate prior to class certification).
10          C.      Leave to Amend
11
            Finally, if for any reason this Court grants the Defendant’s motion, Mobley requests an
12
     opportunity to cure any deficiencies in his complaint. See Newman v. Google LLC, No. 20-CV-
13
     04011-VC, 2023 WL 5282407, at *1 (N.D. Cal. Aug. 17, 2023) ("The plaintiffs have had six
14

15   opportunities to adequately plead their claims.")

16            Dated: September 13, 2023

17                                                         Respectfully submitted,
18                                                         /s/Roderick T. Cooks
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 5
                                    CERTIFICATE OF SERVICE
 6

 7          I hereby certify that I have served a copy of the foregoing document on all persons listed
     below via the Court’s ECF filing system:
 8
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13          Done this the 13th day of September 2023.
14
                                                                  s/Roderick T. Cooks
15                                                                Of Counsel

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